       Case 22-55941-lrc          Doc 3 Filed 08/02/22 Entered 08/02/22 14:22:22                     Desc Order
                                      Unpaid Fees Petition Page 1 of 1
                                      UNITED STATES BANKRUPTCY COURT
                                           Northern District of Georgia
                                                Atlanta Division


In     Debtor(s)
Re:    Ralph A. Pariente                                      Case No.: 22−55941−lrc
                                                              Chapter: 7


                       ORDER REGARDING UNPAID FILING FEES
      The Debtor(s) filed a voluntary petition on August 2, 2022. The amount needed to pay the filing fee in full is
$338.00. Accordingly,

IT IS ORDERED that by August 12, 2022, the Debtor(s) shall

   pay the fee in full, the balance due being $338.00

OR
   file an Application to Pay the Filing Fee in Installments. The Application must provide for an initial payment of
$78.00 that is due at the time of filing. The Application must provide for no more than two additional installment
payments. The balance due on the initial payment is $78.00 and must accompany the Application that is due by
August 12, 2022

OR
   file an Application for the waiver of the filing fee, if applicable. Specific conditions apply. If you cannot afford to
pay the fee either in full at the time of filing or in installments, you may request a waiver of the filing fee by
completing an application and filing with the Clerk of Court. A judge will decide whether you have to pay the fee. By
law the judge may waive the fee only if your income is less than 150 percent of the official poverty line applicable to
your family size and you are unable to pay the fee in installments. You may obtain information about the poverty
guidelines at www.uscourts.gov or in the bankruptcy clerk's office.

For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:

                                              United States Bankruptcy Court
                                               1340 Richard Russell Building
                                                 75 Ted Turner Drive, SW
                                                    Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Atlanta, Gainesville, Newnan or Rome, note that
cash is not accepted. You must remit using cashier's check, money order or attorney's check.

Payments may also be made online at: https://www.ganb.uscourts.gov/online−payments


If, by the date(s) set forth above, i) the filing fee is not paid in accordance with this Order; ii) no request for an
extension of time is pending; or iii) neither the debtor nor any party of interest has requested a hearing thereon, the
Court may dismiss this case without further notice or hearing.

The Clerk will serve this Order on Debtor, Debtor's Counsel, and Trustee.

SO ORDERED, on August 2, 2022.




Form 436 Order Regarding Unpaid Filing Fees                                           Lisa Ritchey Craig
Revised January 2022                                                                  United States Bankruptcy Judge
